8:10-cr-00158-LSC-SMB   Doc # 558   Filed: 11/15/12    Page 1 of 1 - Page ID # 1550



            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:10CR158
                              )
          v.                  )
                              )
RICHARD J. DASHER,            )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on plaintiff’s motion

to seal (Filing No. 542).      The Court finds the motion should be

granted.   Accordingly,

           IT IS ORDERED that plaintiff’s motion is granted.                 The

government’s motion regarding the above defendant shall remain

sealed pending further order of the Court.

           DATED this 15th day of November, 2012.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
